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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA
                                 AUGUSTA DIVISION




IN RE:                                          Case Nos.   CR115- 030, USA v, Martinez
                                                            CR115- 072, USA v. Henderson
LEAVE OF ABSENCE REQUEST                                    CR115- 102, USAv. Sapp
                                                            CR115- 106, USA v. Lakes, et al
LAMONT A BELK                                               CR116- 108, USAv. Riley, et al
July 11, 2016 through July 15, 2016                         CRii6- 022, USAv, Margel, et al
August 15, 2016 through August 19, 2016                     CRii6- 023, USAv, Ottey, et al




                                           ORDER


         Lamont A. Belk having made application to the Court for a leave of absence, and it

being evident from the application that the provisions of Local Rule 83.9 have been complied

with, and no objections having been received;

         IT IS HEREBY ORDERED THAT Lamont A. Belk be granted leave of absence for the

following periods: July 11, 2016 through July 15, 2016 and August 15, 2016 through

August 19, 2016,

         This 1 day oiJaj/uA^, 2016.




                                            HONOR/ffifcE J. RANDAL HALL
                                            Unrted^Smtes District Judge
                                            Southern District of Georgia
